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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                           Plaintiff,         )
                                              )
                      v.                      )     No. 1:19-cr-00231-JRS-DLP
                                              )
 JESS NEAL,                                   ) -03
                                              )
                           Defendant.         )

                           ENTRY FOR FEBRUARY 2, 2022

       On this date, Defendant, Jess Neal (03), appeared in person and by counsel,

 James Bell and Scott Shockley, for a change of plea and sentencing hearing. The

 Government appeared by counsel, Tiffany Preston, with its investigative agents, Glenn

 Carlson and Timothy Kempf. Brittany Neat appeared on behalf of the United States

 Probation Office. The hearing was recorded by Court Reporter, Cathy Jones.

       After placing the Defendant under oath, the Court inquired of the Defendant

 whether the Defendant understood the rights that the Defendant would relinquish if

 the Court accepted the Defendant’s plea of guilty to Count 1 of the Superseding

 Indictment and the Defendant responded affirmatively. Evidence of a factual basis

 for the plea was heard and was accepted of record.       The Court also conducted

 additional inquiry of the Defendant, and as a result of the information and testimony

 provided at the hearing the Court was satisfied that:

       •      the Defendant was fully competent and able to enter an informed plea,
       •      the Defendant’s plea was being made knowingly and voluntarily,

       •      the plea was supported by an independent basis in fact containing each
              of the essential elements of the offense charged.
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       The Court accepted the Petition to Enter a Plea of Guilty, and the Defendant’s

 subsequent plea of guilty pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B).

 The Court adjudged the Defendant guilty.

       The parties were heard with respect to the sentence and application of the

 Sentencing Guidelines.

       Pursuant to the Sentencing Reform Act of 1984, Sentence was imposed as

 stated on the record, including:

       •      Special Assessment: $100.00.
       •      Incarceration: 24 months. The Court recommends placement at a
              facility as close to Indianapolis, IN as possible, at the lowest security
              level deemed appropriate.           The Court further recommends
              participation in educational programming, vocational training, and
              prison industries.
       •      Supervised Release: 2 years.
       •      Restitution: $55,650.00 (see below).

       The defendant shall make restitution to Muncie Sanitary District c/o Attorney

 Mark McKinney, 300 N. High Street Muncie, IN 47305; in the amount of $55,650.00.

 The payment is to be made directly to the Clerk, U.S. District Court, for disbursement

 to the victim. The defendant shall notify the United States Attorney for this district

 within 30 days of any change of mailing or residence address that occurs while any

 portion of the restitution remains unpaid. Any unpaid restitution balance shall be

 paid during the term of supervision at a rate of not less than 10% of the defendant’s

 gross monthly income. The defendant shall notify the probation officer of any material

 change in economic circumstances that might affect the ability to pay restitution. The

 Court finds that the defendant does not have the ability to pay interest and waives

 the interest requirement.
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       By reference to the PSR, and after the Defendant waived formal reading,

 the Court advised the Defendant that while he is on supervised release, he is to

 comply with the following conditions:

       •     You shall not commit another federal, state or local crime.
       •     You shall not unlawfully possess a controlled substance. You shall
             refrain from any unlawful use of a controlled substance. You shall
             submit to one drug test within 15 days of release from imprisonment
             and at least two periodic drug tests thereafter (unless waived).
       •     You shall make restitution in accordance with 18 U.S.C. §§ 3663 and
             3663A or any other statute authorizing a sentence of restitution (if
             applicable).
       •     You shall cooperate with the collection of DNA as directed by the
             probation officer.
       •     You shall report to the probation officer in a manner and frequency
             directed by the court or probation officer.
       •     You shall permit a probation officer to visit you at a reasonable time at
             home, or another place where the officer may legitimately enter by right
             or consent, and shall permit confiscation of any contraband observed in
             plain view of the probation officer.
       •     You shall not knowingly leave the federal judicial district without the
             permission of the court or probation officer.
       •     You shall answer truthfully the inquiries by the probation officer,
             subject to your 5th Amendment privilege.
       •     You shall not meet, communicate, or otherwise interact with a person
             you know to be engaged, or planning to be engaged, in criminal activity.
             You shall report any contact with persons you know to be convicted
             felons to your probation officer within 72 hours of the contact.
       •     You shall reside at a location approved by the probation officer and shall
             notify the probation officer at least 72 hours prior to any planned change
             in place or circumstances of residence or employment (including, but not
             limited to, changes in who lives there, job positions, job responsibilities).
             When prior notification is not possible, you shall notify the probation
             officer within 72 hours of the change.
       •     You shall not own, possess, or have access to a firearm, ammunition,
             destructive device, or dangerous weapon.
       •     You shall notify the probation officer within 72 hours of being arrested,
             charged, or questioned by a law enforcement officer.
       •     You shall maintain lawful full-time employment, unless excused by the
             probation officer for schooling, vocational training, or other reasons that
             prevent lawful employment.
       •     As directed by the probation officer, you shall notify third parties who
             may be impacted by the nature of the conduct underlying your current
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               or prior offense(s) of conviction and/or shall permit the probation officer
               to make such notifications and/or confirm your compliance with this
               requirement.
        •      You shall make a good faith effort to follow instructions of the probation
               officer necessary to ensure compliance with the conditions of
               supervision.
        •      You shall provide the probation officer access to any requested financial
               information and shall authorize the release of that information to the
               U.S. Attorney’s Office for use in connection with the collection of any
               outstanding fines and/or restitution.
        •      You shall not incur new credit charges, or open additional lines of credit
               without the approval of the probation officer.
        •      You shall submit to the search by the probation officer of your person,
               vehicle, office/business, residence, and property, including any computer
               systems and hardware or software systems, electronic devices,
               telephones, and Internet-enabled devices, including the data contained
               in any such items, whenever the probation officer has a reasonable
               suspicion that a violation of a condition of supervision or other unlawful
               conduct may have occurred or be underway involving you and that the
               area(s) to be searched may contain evidence of such violation or conduct.
               Other law enforcement may assist as necessary. You shall submit to the
               seizure of contraband found by the probation officer. You shall warn
               other occupants these locations may be subject to searches.


        The Defendant shall pay to the United States a special assessment of $100.00.

 Payment of the special assessment shall be due immediately and is to be made

 directly to the Clerk, U.S. District Court.

        The Government orally moved to dismiss Counts 2, 3, 4, 5, and 6 of the

 Superseding Indictment. The Court GRANTED said motion and Counts 2, 3, 4, 5,

 and 6 of the Superseding Indictment are DISMISSED.

        The proceedings were adjourned.

  Date: 2/2/2022




 Distribution to all counsel of record via CM/ECF.
